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                                                          August 25, 2022

         Via E-Mail Only
         Ilya Alekseyeff, Esq.
         LOIA, INC.
         8721 Santa Monica Boulevard, Suite 119
         West Hollywood, California 90069
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                      Re:   Goldwater Bank, N.A. v. Artur Elizarov, et al.
                            U.S. District Court, Central District Case No. 5:21-cv-00616-JWH-SP
                            Mr. Elizarov’s Proposed Motion for Sanctions

         Dear Mr. Alekseyeff:

                 We write to meet and confer with respect to your proposed Motion for Rule 11 Sanctions
         on behalf of Artur Elizarov against Goldwater and its attorneys based on your assertion that
         certain allegations in Goldwater’s amended verified complaint are “demonstrably false,” that
         Goldwater has admitted it has no evidentiary support for other allegations, and that certain of
         Goldwater’s claims lack evidentiary support.

                 Your proposed motion is not well taken. Your motion ignores the purpose of Rule 11
         Sanctions – as your proposed motion seeks the extreme sanction of dismissal of every claim
         Goldwater asserts against Mr. Elizarov, except for the breach of contract claim to which he
         admits as he has failed to repay Goldwater hundreds of thousands of dollars, prior to a trial on
         the merits. Mr. Elizarov’s motion to dismiss these claims was denied by the court, and he is not
         entitled to similar relief under Rule 11.

         YOUR PROPOSED MOTION DOES NOT COMPORT WITH THE PURPOSE OF RULE 11

                 By way of your proposed motion, you seek “monetary sanctions against counselors; an
         order dismissing the entire verified complaint (EFD # 44) or, at the minimum, dismissing the
         causes of action for fraud, conspiracy to commit fraud, fraudulent transfer, and unjust
         enrichment; an order that attorney Derek Bast report the sanction to the North Carolina Bar; and
         an order that attorneys Maurice and LeVota1 report the sanction to the California State Bar.”
         (Notice of Motion, p. 2, ll. 2-7.) The proposed motion is based entirely on the assertion that
         1
          Notably, Joseph LeVota did not sign Goldwater’s amended verified complaint and, therefore, did not certify its
         contents and cannot be held liable for Rule 11 Sanctions under any circumstances. The inclusion of Mr. LeVota in
         your proposed motion demonstrates your improper motivation of harassment.

                                                                                                          Exhibit TT - 1
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Goldwater’s amended verified complaint lacks evidentiary support and are not warranted by
existing law. You are wrong, and your proposed motion lacks merit.

         The purpose of Rule 11 is to deter dilatory or abusive pretrial tactics and to streamline
litigation by excluding baseless filings. (See, Cooter & Gell v. Hartmarx Corp. (1990) 496 U.S.
384.) In other words, “Rule 11 targets situations where it is patently clear that a claim has
absolutely no chance of success.” (Healey v. Chelsea Resources, Ltd., (2d Cir.1991) 947 F.2d
611, 626 (citations omitted).) Here, Goldwater’s amended verified complaint is not a baseless
filing with absolutely no chance of success. Rather, it asserts legitimate causes of action against
Mr. Elizarov, and the Court has already determined Goldwater is likely to prevail on its claims.
(See, Doc. 23, p. 6, ll. 1-13.)

       Moreover, your proposed motion comes while discovery is still ongoing. Goldwater
should be allowed “to litigate [its] case on the merits, and thus, sanctions for bringing a frivolous
lawsuit [would be] inappropriate.” (Leveski v. ITT Educational Services, Inc. (7th Cir. 2013) 719
F.3d 818, 839-840.)

        There are a number of facts stated in your motion that are still in dispute. For example,
you argue: “Elizarov’s decision to prefer Shatar over Goldwater was not made with fraudulent
intent.” (Memo., p. 22, ll. 24-25.) Goldwater does not accept that statement as true. Further, you
argue: “On March 25, 2021, Elizarov discovered that Goldwater had never recorded the deed of
trust nor given Elizarov notice of Goldwater’s intent to require the immediate payment of the
loan. Consequently, Elizarov refused to repay the loan and insisted on paying down the loan
according to the existing amortization schedule under the note.” (Memo., p. 4, ll. 23-27.)
Goldwater disagrees with this statement entirely. Notably, you previously forwarded this
argument in connection with Elizarov’s motion to dismiss, which arguments were soundly
rejected by the court. More importantly, Elizarov cannot base a Rule 11 motion on these
unresolved issues.

         Instead, of a proper purpose, it appears your proposed motion seeking extreme sanctions
is part of improper motivation to intimidate or to test the legal sufficiency of Goldwater’s
allegations. Committee Notes on Amendments to Federal Rules of Civil Procedure (1993) 146
FRD 401, 590, specifically disapproves of this tactic and states:
         Rule 11 motions should not be made or threatened for minor, inconsequential
         violations of the standards prescribed by subdivision (b). They should not be
         employed as a discovery device or to test the legal sufficiency or efficacy of
         allegations in the pleadings; other motions are available for those purposes. Nor
         should Rule 11 motions be prepared to emphasize the merits of a party's position,
         to exact an unjust settlement, to intimidate an adversary into withdrawing
         contentions that are fairly debatable, to increase the costs of litigation, to create a
         conflict of interest between attorney and client, or to seek disclosure of matters
         otherwise protected by the attorney-client privilege or the work-product doctrine.

For these reasons, we believe your proposed motion is improper.



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                                                                                  Exhibit TT - 2
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GOLDWATER DOES NOT HAVE ANY OBLIGATION TO AMEND OR WITHDRAW ITS
AMENDED VERIFIED COMPLAINT

        Goldwater vehemently disagrees with your assertions that certain allegations in the
amended verified complaint are false or lack evidentiary support. The fact that Elizarov has
developed facts that he believe support his defenses to the claims is not a basis for Rule 11
practice; it is simply the result of ordinary discovery.

        Moreover, Goldwater conducted a reasonable inquiry prior to filing its amended verified
complaint and it does not have an obligation to amend or dismiss its pleadings. Rule
11 does not impart a continuing certification by counsel as to the reasonableness of papers
previously filed. (The Rule 11 certification applies only as of the time the papers are “presented”
to the court.) Thus, parties cannot be sanctioned merely for failing to withdraw pleadings or
papers previously filed after their lack of merit is discovered. (See Edwards v. General Motors
Corp. (5th Cir. 1998) 153 F3d 242, 245.) Further, Committee Notes on Amendments to Federal
Rules of Civil Procedure (1993) 146 FRD 401, 586-587, states:
        Moreover, if evidentiary support is not obtained after a reasonable opportunity for
        further investigation or discovery, the party has a duty under the rule not to persist
        with that contention. Subdivision (b) does not require a formal amendment to
        pleadings for which evidentiary support is not obtained, but rather calls upon a
        litigant not thereafter to advocate such claims or defenses.

Accordingly, Goldwater does not have an obligation to withdraw or amend its prior pleading.

        In your motion, you cite to cases regarding an attorney’s duty to evaluate the claims
being made and dismiss any claims that are no longer viable. However, none of these cases
required an attorney to amend a prior pleading or dismiss viable claims that involved disputed
facts. The Byrnes v. Lockheed-Martin, Inc. case you cite concerns the continued prosecution of a
claim after admitting there was no evidence to support the claim. Here, Goldwater is in the
process of obtaining evidence and has not admitted that there is no evidence for its claims against
Mr. Elizarov. Similarly, your reliance on Habib v. Matson Navigation Co., Inc. is misplaced, as
that case centered on an attorney’s obligation upon substituting into an action and an attorney’s
obligations to evaluate a cause upon substituting into the action, particularly, when there is
evidence that a claim is no longer viable. Again, here, Goldwater’s claims against Mr. Elizarov
remain viable and discovery has not been completed – such that Goldwater is not in a position to
admit certain relevant facts (and certainly not willing to just accept your one-sided recitation of
facts). There is simply no case in which a party is required to dismiss colorable claims simply
because it has not completed discovery.

GOLDWATER SHOULD NOT BE SANCTIONED FOR FORWARDING COLORABLE
CLAIMS AGAINST MR. ELIZAROV

        As discussed above, Goldwater’s amended verified complaint asserts legitimate claims
and is not subject to Rule 11 Sanctions, particularly in light of the significant threshold to obtain
Rule 11 sanctions. “Rule 11 is an extraordinary remedy, one to be exercised with extreme
caution. Such sanctions can have an unintended detrimental impact on an attorney's career and
personal well-being.” (Conn v. Borjorquez (9th Cir. 1992) 967 F2d 1418, 1421.) Because of the
potentially chilling effect on innovative lawyering, sanctions are reserved “for the rare and

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                                                             Exhibit TT - 4
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Thu 2022-08-25 12:10 PM
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  1 attachments (2 MB)
JAL to Alekseyeff re RULE 11 - 08.25.2022.pdf;


Ilya,

As I gathered my thoughts for our telephone conference this afternoon, I drafted the attached letter. Hopefully,
this will let us have an efficient meeting.

Best regards,
Joe

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                                                                                                    Exhibit TT - 5
